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  10
                                   UNITED STATES DISTRICT COURT
  11                             SOUTHERN DISTRICT OF CALIFORNIA
  12    AMBER MILLER, JOSH COOK, &                       Case No. '25CV0071 AGS BLM
        MARINA VASILYEVA, individually and
  13    on behalf of those similarly situated,           CLASS ACTION COMPLAINT
  14                       Plaintiffs,                   JURY TRIAL DEMANDED
  15           v.
  16    HELLO PRODUCTS LLC,
  17                       Defendant.
  18

  19
              Plaintiffs Amber Miller, Josh Cook, and Marina Vasilyeva (“Plaintiffs”), by their
  20
       undersigned counsel, on behalf of themselves and all persons similarly situated who purchased
  21

  22   Hello “Kids Fluoride Rinse” for their preschool children, bring this class action lawsuit against

  23   defendant Hello Products LLC. (“Defendant”). Plaintiffs allege the following upon information

  24   and belief, except for those allegations that pertain to Plaintiffs, which are based on Plaintiffs’
  25   personal knowledge.
  26
                                              INTRODUCTION
  27
              1.      Defendant manufactures and sells a “naturally friendly” fluoride mouthrinse that it
  28
                                                  1
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   1   specifically markets for use by kids called Hello Kids Fluoride Rinse (“Hello Rinse” or “Rinse”).
   2   The Rinse comes in two kid-enticing flavors: “Wild Strawberry” and “Unicorn Splash.”
   3
             2.      The label of Defendant’s Wild Strawberry Rinse states it is “thoughtfully formulated
   4
       with wild strawberry natural flavor and xylitol” and “tastes so delicious they’ll rush to rinse.”
   5
             3.       The label of Defendant’s Bubble Gum Rinse describes the candy-flavored liquid as
   6

   7   a “unicorn splash” that “tastes magical” and “tastes like rainbows and sunshine (aka bubble gum).”

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             4.      In addition to showcasing its “delicious” and “magical” flavors, the Hello Rinse
  27
       label boasts that the liquid does not contain harmful or unhealthy ingredients: “vegan. no alcohol.
  28
                                                  2
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   1       no dyes. no artificial flavors. no SLS/sulfates. no brainer.”
   2              5.      While Defendant’s labeling conveys the impression that the rinse is specially
   3
           formulated to be safe for young children, it is not. The is considered by the U.S. Food and Drug
   4
           Administration (“FDA”) to be too dangerous for children under 6 to use.
   5
                  6.      Hello Rinse, which has the same fluoride concentration as adult rinses, is actually
   6

   7       more dangerous for young children than adult rinses because it comes in candy and fruit flavors

   8       that entice children to use and swallow more of the product.

   9              7.      As far back as 1960, it was known that fluoride mouthrinses “should not be
  10
           employed in children below school age.” 1
  11
                  8.      The FDA states that fluoride mouthrinses “are not indicated for use in children under
  12
           6 years of age on an [over-the-counter] basis” and “should not be within easy reach of any
  13
           children.” 2
  14

  15              9.      The American Dental Association (“ADA”) states that “Children younger than the

  16       age of 6 should not use mouthrinse, unless directed by a dentist, because they may swallow large
  17       amounts of the liquid inadvertently.” 3
  18
                  10.     The World Health Organization (“WHO”) states that fluoride mouthrinses “are not
  19
           recommended for children below the age of 6 years.” 4
  20
                  11.     The American Academy of Pediatrics (“AAP”) states that fluoride mouth rinses
  21

  22       should not be used until a child turns 6 and, even then, only “if the child can reliably swish and

  23
       1
        Ingrid Hellstrom, Fluoride retention following sodium fluoride mouthwashing, 18 ACTA
  24   ODONTOL SCAND. 263, 273 (1960).
  25   2
        FDA, Anticaries Drug Products for Over-the-Counter Human Use; Final Monograph, 60 Fed.
       Reg. 52474, 52486 (Oct. 6, 1995).
  26   3
         ADA, Mouthrinse (Mouthwash) – Key Points, https://www.ada.org/resources/ada-library/oral-
  27   health-topics/mouthrinse-mouthwash
       4
  28       WORLD HEALTH ORGANIZATION. FLUORIDES AND ORAL HEALTH 33 (1994).

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   1       spit” and is at high risk of tooth decay. 5
   2              12.     The U.S. Centers for Disease Control and Prevention (“CDC”) states that “children
   3
           under <6 years should not use fluoride mouthrinse without consultation with a dentist or other
   4
           health care provider.” 6
   5
                  13.     According to Defendant’s parent company Colgate-Palmolive Co., “babies and
   6

   7       toddlers should not use [fluoride] mouthrinse” because “children under six may not have fully

   8       developed their swallowing reflexes and could swallow the mouthrinse,” which can “lead to side

   9       effects like vomiting, intoxication, and nausea.” 7
  10
                  14.     Despite the scientific consensus that fluoride mouthrinses are contraindicated for
  11
           children under six years of age, Defendant targets this age group with its Hello Rinse.
  12
                  15.     In its efforts to appeal to young children, Defendant presents fluoride mouthrinse (a
  13
       drug that should not be swallowed by any age group, especially young children) as a juice-like and
  14

  15   candy-like product. This is both deceptive and dangerous.

  16              16.     It is well recognized that presenting drugs as candy- and fruit-like products increases
  17   the risk of overdose, particularly for young children. In 1997, the Journal of Public Health Dentistry
  18
       published a review, stating “The use of flavored consumer fluoride products increases the
  19
       possibility that a child will ingest a toxic dose of fluoride.” 8 A more recent review in the Journal
  20
       of Dental Hygiene warned that boasting “pictures of fruit with flavoring to match” on kids fluoride
  21

  22
       5
        Melinda B. Clark, et al., Fluoride Use in Caries Prevention in the Primary Care Setting, 146
  23   PEDIATRICS e2020034637, Tbl 1 (2020).
       6
  24     CDC, Recommendations for using fluoride to prevent and control dental caries in the United
       States. Centers for Disease Control and Prevention, 50 MMWR RECOMM REP. 1, 26 (2001).
  25   7
            Colgate, What Parents Should Know About Mouthwash for Children,
  26   https://www.colgate.com/en-us/oral-health/kids-oral-care/what-parents-should-know-about-
       mouthwash-for-children (last accessed Jan. 13, 2025).
  27   8
        Jay D. Shulman & Linda M. Wells, Acute fluoride toxicity from ingesting home-use dental
  28   products in children, birth to 6 years of age, 57 J PUBLIC HEALTH DENT. 150, 150 (1997).

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   1   products is “misleading” because pictures of fruit send a “common signal to a child that [the
   2   product] is intended to be consumed as if it were food.” 9
   3
                 17.     Swallowing excessive amounts of fluoride is hazardous to health.
   4
                 18.     Hello Rinse has enough fluoride in it to kill a small child. A toddler who ingests just
   5
           over half of the sweet flavored liquid in the bottle may suffer severe poisoning, including death.
   6

   7       See infra ¶¶ 88-91.

   8             19.     The risk of toxicity is not limited to those children who intentionally drink the

   9       product. Even small amounts of the rinse can cause symptoms of acute toxicity if ingested.
  10
                 20.     A single 10 mL dose of Hello Rinse contains 2.3 milligrams of fluoride. A toddler
  11
           who swallows this 10 mL dose can suffer nausea, vomiting, and other early symptoms of acute
  12
           fluoride toxicity. See infra ¶¶ 81-87.
  13
                 21.     There are thousands of poison control reports for excess ingestion of fluoride
  14

  15       mouthrinse by young children each year. But these reports represent only a fraction of the total

  16       number of incidents. See infra ¶¶ 92-95.
  17             22.     Another problem with young children using fluoride mouthrinse is that it can cause
  18
           dental fluorosis. 10 Fluorosis is a defect of tooth enamel that is marked by “increased porosity” and
  19
           “less than normal amounts of calcification in the teeth.” 11 This defect causes visible, and
  20
           sometimes disfiguring, staining of the enamel. See infra ¶¶ 78-80.
  21

  22

  23   9
         Corey H. Basch & Sonali Rajan, Marketing strategies and warning labels on children's
  24   toothpaste, 88 J DENT HYG. 316, 316 (2014).
       10
         CDC, About Fluoride, https://www.cdc.gov/oral-health/prevention/about-fluoride.html (“If
  25
       children repeatedly swallow mouth rinses, they may develop dental fluorosis.”).
  26   11
          NATIONAL RESEARCH COUNCIL, FLUORIDE IN DRINKING WATER: A SCIENTIFIC REVIEW OF EPA’S
       STANDARDS 104 (2006); Crest, Dental Fluorosis: Causes, Treatments & Prevention,
  27
       https://crest.com/en-us/oral-care-tips/tooth-enamel/dental-fluorosis-causes-treatments-prevention
  28   (last accessed Jan. 13, 2025).

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   1             23.    The FDA recognizes that preschool children who use fluoride mouthrinse are at risk
   2   of developing dental fluorosis, but did not require a fluorosis warning because children under six
   3
       are not supposed to be using the product. To quote: “Because fluoride dental rinses and gels are
   4
       recommended only for use in adults and children 6 years of age and older, the agency believes that
   5
       a warning about discoloration of developing teeth in children under 6 years of age is not needed on
   6

   7   an OTC market package.” 12

   8             24.    The health risks of preschool children using fluoride mouthrinse are of such

   9   magnitude that scientists have never even attempted to study the potential effect of fluoride
  10
       mouthrinses on tooth decay in this age group. Therefore, there are no demonstrated benefits from
  11
       the use of fluoride mouthrinses for preschool children, particularly in the current context of
  12
       widespread exposure to fluoride from toothpaste, fluoridated water, and processed foods.
  13
                 25.    Due to the dangers posed by fluoride in mouthrinse form, it is critical that consumers
  14

  15    be alerted of the need to take special precautions to avoid ingesting toxic levels of fluoride.

  16             26.    By 1960, it was known that “careful instruction . . . must be provided” if fluoride
  17    mouthrinses are to be used on a daily basis. 13
  18
                 27.    The FDA is concerned that many consumers will not appreciate that fluoride
  19
        mouthrinses present dangers that are not present with ordinary cosmetic mouthrinses. According
  20
        to the FDA, “based upon familiarity with cosmetic mouthrinse use, a consumer might overuse
  21

  22    and/or misuse an OTC fluoride rinse.” 14

  23             28.    Because many consumers will not appreciate the risks posed by fluoride mouthrinse,

  24

  25   12
         FDA, Anticaries Drug Products for Over-the-Counter Use; Tentative Final Monograph; Notice
  26   of Proposed Rulemaking, 59 Fed. Reg. 39854, 39864 (Sept. 30, 1985).
       13
  27        Hellstrom, supra note 1, at 273 (emphasis added).
       14
  28        FDA, supra note 2, at 52485.

                                                    6
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   1    the FDA has stressed that the “safe” use of fluoride mouthrinse requires “proper labeling.”15
   2    Towards this end, the FDA specifically commands that the labeling for fluoride mouthrinses
   3
        “clearly instructs consumers to read the directions.” 16
   4
                  29.   In order to ensure consumers read the directions, the FDA requires sellers of fluoride
   5
        mouthrinse to “prominently” place a notice on the front label of the product. 17 The regulation
   6

   7    states that “the following statement shall be prominently placed on the principal display panel:

   8    ‘IMPORTANT: Read directions for proper use.’” 21 C.F.R. § 355.55.

   9              30.   Defendant is flagrantly violating this regulation as it does not provide this notice
  10
        anywhere on the Hello Rinse, let alone in a prominent way on the front label.
  11
                  31.   Defendant is well aware that Hello Rinse is popular among preschool children and
  12
       their caregivers. The following are examples of customer reviews that can readily be found on
  13
       Defendant’s own website 18:
  14

  15                    a. “I was given this product to try as part of the weeSpring Parent Panel. We tried

  16                        the strawberry flavor mouthwash and, as predicted, my kids loved it. My young
  17                        children (6 yr, 4 yr and 2 yr) looked forward to using it every day after brushing.
  18
                            It tastes good, they like to keep it in their mouth for the requisite rinse time.”
  19
                        b. “My only complaint would be they find a better way to measure the amounts in
  20
                            a spill proof way (my 3 year-old proof essentially)”
  21

  22                    c. “Toothbrushing time is already a not fun time in our household when you have

  23                        a 5 and 3 year old! This is their first time using a mouthwash and they really

  24
       15
  25        Id.
       16
            Id. (emphasis added).
  26   17
            Id.
  27   18
         https://www.hello-products.com/products/kids-fluoride-strawberry-mouthwash (last accessed
  28   Jan. 13, 2025).

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   1                 enjoyed the experience and flavor of it! It helps to keep their breath fresh, teeth
   2                 cavity free, and mommy happy!”
   3
                  d. “My 4 year old son actually looks forward to using mouthwash. It used to just
   4
                     be another step in the routine but he gets so excited! After he spits it out, he says
   5
                     ‘Yummmm!’. Having tried it out myself before him, I'd have to agree! We love
   6

   7                 that it’s natural and effective. What we put in our kiddos bodies is SO

   8                 important!”

   9              e. “We are reallllllly enjoying this strawberry rinse from Hello Kids--especially
  10
                     my 4y/o.”
  11
                  f. “Kids aren't supposed to get excited about dental hygiene, are they? Apparently
  12
                     I was wrong. My 4 year old son's new favorite treat is Hello Wild Strawberry
  13
                     Rinse.”
  14

  15              g. “I’ve got a 6 year old and almost 4 year old and they both loved the wild

  16                 strawberry flavor so much that and would remind me to open the mouth rinse if
  17                 I forgot. I would recommend this to other parents. Definitely buying this again!”
  18
                  h. “My daughter is four and a half, and doesn't brush her teeth very thoroughly,
  19
                     even with my assistance. . . . My daughter loves the taste, and actually looks
  20
                     forward to using it every day. It’s now her favorite flavor of fluoride rinse, and
  21

  22                 I plan on buying this for her whenever she runs out of it.

  23              i. “My 5 year old looooves the flavor. He asks to use it all the time:)”

  24              j. “My 5 year old loves using this rinse.”
  25              k. “After receiving the mouthwash from weeSpring Parent Panel, we have
  26
                     concluded we love Hello Kids Flouride Rinse! My 5 year old asks every night
  27
                     now if he can swish. Why? Because this rinse is a delicious strawberry flavor,
  28
                                              8
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   1                      making it so kid friendly! It's also mom approved, since it’s so natural.”
   2                  l. “My 5 year old has sensory processing disorder so I was a little concerned on
   3
                          how he would handle trying a mouth rinse, what got me interested in the wild
   4
                          strawberry Hello kids flouride rinse was that it has no alcohol so no burning
   5
                          sensation. To assure him, I tried it first. Berry flavored is generally reserved for
   6

   7                      kids things but to my surprise, I liked it! When my son tried it he said, ‘Yum! It

   8                      doesnt even burn my mouth!’”

   9            32.   The targeting of young children with fruit- and candy-flavored fluoride products is
  10
       believed to be one of the reasons for the increase in dental fluorosis that has been observed in recent
  11
       decades. 19
  12
                33.   Since the introduction of fruit- and candy-like fluoride products in the 1980s, the
  13
       rate of dental fluorosis among U.S. schoolchildren has skyrocketed. In 1986-87, approximately
  14

  15   23% of U.S. children had fluorosis. 20 This rate tripled to a staggering 68% of U.S children by 2015-

  16   16. 21
  17            34.   With millions of U.S. children showing visible signs of excess fluoride exposure,
  18
       there is growing concern about other chronic health conditions that fluoride may be causing,
  19
       including neurodevelopmental disorders and endocrine disruption. In August of 2024, the
  20
       prestigious National Toxicology Program (NTP) concluded that excess fluoride exposure is
  21

  22   associated with IQ loss in children, and, in September 2024, a federal district court concluded that

  23

  24
       19
          Christopher Neurath, et al., Dental Fluorosis Trends in US Oral Health Surveys: 1986 to 2012,
  25   4 JDR CLIN TRANS RES. 298, 306 (2019).
       20
  26      Keith E. Heller, Dental caries and dental fluorosis at varying water fluoride concentrations, 57
       J PUBLIC HEALTH DENT. 136, 139 Tbl 5 (1997).
  27   21
         Man Hung et al., A National Study Exploring the Association Between Fluoride Levels and
  28   Dental Fluorosis, 6 JAMA NETW OPEN. e2318406 (2023).

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  1   adding fluoride to drinking water presents an unreasonable risk of reduced IQ. See infra ¶¶ 99-103.
  2          35.     Plaintiffs bring this action to hold Defendant accountable for its false, misleading,
  3
      and unlawful labeling of Hello Rinse, which puts the health of millions of children at risk.
  4
             36.     Defendant’s failure to prominently display FDA’s required notice on the label of
  5
      Hello Rinse violates 21 C.F.R. § 355.55, as well as the prohibition on selling unlawful products
  6

  7   under California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200.

  8          37.     Defendant’s false and misleading labeling violates the Federal Food Drug &

  9   Cosmetic Act (“FDCA”), 21 U.S.C. § 352(a), 22 and many state consumer fraud statutes, including,
 10
      but not limited to, California’s Unfair Competition Act, Cal. Bus. & Prof. Code § 17200, the Illinois
 11
      Consumer Fraud and Deceptive Trade Practices Act, 815 ILCS § 505/2, and New York General
 12
      Business Law §§ 349-50.
 13
             38.     Plaintiffs do not seek to impose any requirement that goes beyond, is not identical
 14

 15   to, or is different from, the requirements that are imposed on Defendant under the FDCA and its

 16   accompanying regulations, including the FDA Monograph on fluoride mouthrinse. See C.F.R. §§
 17   355.50 & 355.55. Plaintiffs seek instead to hold Defendant responsible for the elements of its
 18
      products that are not required by the Monograph and which violate its obligations under both
 19
      federal and state law. A judicial finding that these voluntary elements are false, misleading, and/or
 20
      violative of specific FDCA requirements would be harmonious and not in conflict with the FDCA.23
 21

 22
      22
         Plaintiffs recognize that there is no private right of action under FDCA and do not assert such a
 23   claim here. Instead, Plaintiffs’ allegations that Defendant violated the requirements of the FDCA
 24   serve as a prerequisite for their state law claims. See, e.g., In re Beyond Meat, Inc., No. 23 C 669,
      2024 U.S. Dist. LEXIS 30397, at *21 (N.D. Ill. Feb. 21, 2024) (“[T]o avoid preemption, a state law
 25   claim related to misleading labeling must allege a violation of the FDCA or its regulations.”).
      23
 26      See, e.g., Bell v. Publix Super Mkts., Inc., 982 F.3d 468, 485 (7th Cir. 2020) (“The FDCA’s
      preemption provision means that, while states may not require sellers to add further labeling that is
 27   not required by federal law, they may prevent sellers from voluntarily adding deceptive content that
      is not required by federal law.”); Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 758 (9th Cir.
 28   2015) (“FDA regulations do not require Hain to label its products as ‘All Natural’ or ‘Pure Natural.’
                                                10
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                                             42


  1                                                 PARTIES
  2          39.      Plaintiff Amber Miller is a citizen of California.
  3
             40.      Ms. Miller lives in San Marcos, California, where she has purchased Hello Rinse
  4
      for her minor daughter I.M.
  5
             41.      Ms. Miller began purchasing Hello Rinse for I.M. in 2022, when I.M. was two years
  6

  7   old. She continued purchasing the product for I.M. until 2024.

  8          42.      Ms. Miller has purchased Hello Rinse for I.M. from a Walmart located in San Diego

  9   County.
 10
             43.      Ms. Miller did not purchase the Hello Rinse at the direction of a dentist, doctor, or
 11
      health care provider.
 12
             44.      Based on Defendant’s packaging, Ms. Miller believed Hello Rinse was specially
 13
      formulated to be safe for young children and would not present any risks to I.M.
 14

 15          45.      I.M. enjoyed the flavor of the rinse.

 16          46.      If Ms. Miller had known that fluoride mouthrinse is contraindicated for children
 17   under 6 years of age, she would not have purchased Hello Rinse, or any other fluoride rinse.
 18
             47.      Plaintiff Josh Cook is a citizen of Illinois.
 19
             48.      Mr. Cook lives in Rockford, Illinois and has purchased Hello Rinse for his minor
 20
      daughter Z.C.
 21

 22          49.      Mr. Cook began purchasing Hello Rinse for Z.C. in about 2021 when she was 3

 23   years old. He continued purchasing the product for Z.C. until 2023 when she was approximately 5

 24   years old.
 25

 26
      If Astiana’s suit ultimately requires Hain to remove these allegedly misleading advertising
 27
      statements from its product labels, such a result does not run afoul of the FDCA, which prohibits
 28   ‘requirement[s]’ that are ‘different from,’ ‘in addition to,’ or ‘not identical with’ federal rules.”).

                                                 11
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                                            42


  1             50.   Mr. Cook did not purchase the Hello Rinse at the direction of a dentist, doctor, or
  2   health care provider.
  3
                51.   Based on Defendant’s packaging, Mr. Cook believed Hello Rinse was specially
  4
      formulated to be safe for young children and would not present any risks to Z.C.
  5
                52.   Z.C. enjoyed the flavor of the rinse.
  6

  7             53.   If Mr. Cook had known that fluoride mouthrinse is contraindicated for children

  8   under 6 years of age, he would not have purchased Hello Rinse, or any other fluoride rinse.

  9             54.   Plaintiff Marina Vasilyeva is a citizen of New York.
 10
                55.   Ms. Vasilyeva lives in Manhattan, New York and has purchased Hello Rinse for her
 11
      minor daughter C.B.
 12
                56.   Ms. Vasilyeva began purchasing Hello Rinses for C.B. in about 2021, when C.B.
 13
      was 3 years old. She continued purchasing the product for C.B. until 2024.
 14

 15             57.   Ms. Vasilyeva did not purchase the Hello Rinse at the direction of a dentist, doctor,

 16   or health care provider.
 17             58.   Based on Defendant’s packaging, Ms. Vasilyeva believed Hello Rinse was specially
 18
      formulated to be safe for young children and would not present any risks to C.B.
 19
                59.   C.B. enjoyed the flavor of the rinse.
 20
                60.   If Ms. Vasilyeva had known that fluoride mouthrinse is contraindicated for children
 21

 22   under 6 years of age, she would not have purchased Hello Rinse, or any other fluoride mouthrinse.

 23             61.   Defendant Hello Products LLC is, and at all times mentioned in this Complaint

 24   was, a Delaware limited liability company with a principal place of business in North Bergen, New
 25   Jersey.
 26
                                       JURISDICTION AND VENUE
 27
                62.   This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C.
 28
                                                  12
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  1   §1332(d)(2) and the Class Action Fairness Act of 2005 (“CAFA”), because (i) there are 100 or
  2   more class members; (ii) there is an aggregate amount in controversy exceeding $5,000,000,
  3
      exclusive of interest and costs; and (iii) there is minimal diversity because at least one member of
  4
      the class and defendant are citizens of different states. This court has supplemental jurisdiction over
  5
      the state law claims pursuant to 28 U.S.C. § 1367.
  6

  7            63.     This Court has personal jurisdiction over Defendant because the injuries upon which

  8   the California Plaintiff’s action is based occurred or arose out of activities that Defendant

  9   specifically engaged in within the State of California. Defendant knowingly and intentionally
 10
      distributed its mouthrinse products for sale in California, and Plaintiff thereupon purchased
 11
      Defendant’s mouthrinse products from a retail store located in California.
 12
               64.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a
 13
      substantial part of the events or omissions giving rise to the claims occurred in the State of
 14

 15   California, including within San Diego County.

 16                                        FACTUAL ALLEGATIONS
 17            A. Fluoride Mouthrinse Poses a Much Greater Risk to Young Children than Adults
 18
               65.     For a multitude of reasons, young children are more vulnerable to suffering harm
 19
      from fluoride mouthrinse than adolescents and adults.
 20
               66.     Young children have poorly developed swallowing reflexes and, as a result, swallow
 21

 22   a large percentage of the rinse that they put into their mouth, whether they want or intend to or not.

 23   This remains the case even when the child is instructed not to swallow. As the FDA has explained,

 24   “Children under 6 years of age . . . have not developed control of their swallowing reflex and are
 25   not able to hold the fluoride preparation in their mouth and then expectorate properly.” 24
 26

 27
      24
 28        FDA, supra note 12, at 39867.

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  1             67.    Between mouthrinse and toothpaste, the former poses a greater risk of excess
  2   ingestion for young children. This is because fluoride mouthrinses “do not contain an abrasive that
  3
      can bind some of the fluoride ion and because a child under 6 is more likely to drink a flavored
  4
      liquid than eat large amounts of toothpaste.” 25
  5
                68.    The lack of a developed swallowing reflex is particularly acute for children under
  6

  7   the age of three. In a study designed to estimate exposure from fluoride mouthrinse, “most 2 year

  8   old children and some 3 year old children could not perform mouthrinsing with water, but instead

  9   quickly swallowed the fluid.” 26,27
 10
                69.    According to the CDC, “studies of the amount of fluoride swallowed by children
 11
      aged 3-5 years using such rinses indicated that some young children might swallow substantial
 12
      amounts.” 28
 13
                70.    Even when ingesting the same amount of mouthrinse as an adult, young children
 14

 15   receive a far higher fluoride dose by bodyweight (mg/kg/day) due to their smaller body size.

 16             71.    A 2 year old child of average weight (~12 kg) who ingests a single dose of Hello
 17   Rinse 29 will ingest 0.19 mg/kg of fluoride, which is more than two times higher than EPA’s
 18
      reference dose (0.08 mg/kg/day) for fluoride. According to EPA, children who ingest more than
 19

 20

 21
      25
           FDA, supra note 2, at 52486.
 22
      26
           FDA, supra note 12, at 39867.
 23   27
         This study gave the children water. The study’s findings would likely have been even more
 24   troubling if the children were given candy-flavored rinse. When drugs taste and smell like candy,
      many young children are inclined to swallow it, irrespective of whether they have the necessary
 25   reflexes to control doing so. Cf., CDC, supra note 6, at 14 (stating that children are “known to
      swallow toothpaste deliberately when they like its taste”).
 26   28
           CDC, supra note 6, at 16.
 27   29
       A single dose is 10 mL. At a concentration of 0.05% sodium fluoride (=0.023% fluoride ion), 10
 28   mL of mouthrinse contains 2.3 mg of fluoride ion.

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  1   0.08 mg/kg/day are at risk of developing “severe dental fluorosis.” 30
  2            B. Ingesting Fluoride Mouthrinse During Early Childhood Causes Dental Fluorosis
  3
               72.      Dental fluorosis is “a permanent, mottled discoloration of the teeth” 31 that is caused
  4
      by ingesting too much fluoride while the teeth are still developing. Once the teeth have finished
  5
      forming, fluoride can no longer cause fluorosis. Ergo, only young children are at risk of developing
  6

  7   this condition.

  8            73.      The first six years of life are the critical window of vulnerability for developing

  9   dental fluorosis, with fluoride exposures during the first 3 years of life being the most significant
 10
      for causing fluorosis of the upper front teeth, which are the most cosmetically important teeth. 32
 11
               74.      Dental fluorosis comes in various degrees of severity. 33 The mild forms of fluorosis
 12
      cause “permanent white lines or streaks” on the teeth, whereas the severe forms of fluorosis cause
 13
      “brown, gray, or black patches and pits, typically on top of an irregular tooth surface.” 34
 14

 15

 16

 17

 18

 19

 20

 21

 22
      30
 23     ENVIRONMENTAL PROTECTION AGENCY: FLUORIDE: DOSE-RESPONSE ANALYSIS FOR NON-
      CANCER EFFECTS 107 (2010) (emphasis added).
 24   31
           FDA, supra note 2, at 52487.
 25   32
         Michael R. Franzman, et al., Fluoride dentifrice ingestion and fluorosis of the permanent
      incisors, 137 J AM DENT ASSOC. 645, 646 (2006).
 26   33
           NATIONAL RESEARCH COUNCIL, supra note 11, at 103-11.
 27   34
        Colgate, Causes of Brown Spots on the Teeth, https://www.colgate.com/en-us/oral-health/adult-
 28   oral-care/brown-spots-on-teeth-causes (last accessed Jan. 13, 2025).

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  7
                                             Photos of Dental Fluorosis
  8
                75.    Microscopically, “dental fluorosis is a condition of permanent hypomineralized
  9
      change, with increased surface and sub-surface enamel porosity resulting from excess fluoride
 10

 11   reaching the developing tooth prior to eruption.” 35 In short, “fluoride affects the forming enamel

 12   by making it more porous.” 36

 13             76.    The CDC agrees that ingesting fluoride mouthrinse can cause fluorosis. According
 14
      to CDC, “[i]f children repeatedly swallow mouth rinses, they may develop dental fluorosis.” 37
 15
                77.    The ingestion of fluoridated dental products is considered to be a key reason for the
 16
      skyrocketing prevalence of dental fluorosis in the US. In the 1940s, dental fluorosis was a rare
 17
      condition that was generally found only in areas with elevated fluoride in water. Since that time,
 18

 19   with the advent of water fluoridation programs and fluoridated dental products, the rate of dental

 20   fluorosis has steadily increased. The most recent national survey from the CDC, conducted in 2015-
 21   2016, found that 68.2% of children now have some form of dental fluorosis. 38
 22
                78.    Dental fluorosis, even in its “mild” forms, is recognized to be cosmetically
 23

 24   35
        Brian A. Burt, The changing patterns of systemic fluoride intake. 71 J DENT RES. 1228, 1228
 25   (1992).
      36
        Ana Karina Mascarenhas, Risk factors for dental fluorosis: a review of the recent literature, 22
 26   PEDIATR DENT. 269, 274 (2000).
      37
 27        CDC, supra note 10.
      38
 28        Hung et al., supra note 21.

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  1   objectionable when present on a child’s upper front teeth (i.e., maxillary anterior teeth). 39
  2             79.    The following are some findings from the peer-reviewed dental literature regarding
  3
      the disfiguring effects of “mild” fluorosis:
  4
                           a. “Mild and moderate dental fluorosis had a negative aesthetic effect on the
  5
                                studied population, leading to a strong desire to seek dental treatment to
  6

  7                             change the appearance of affected teeth.” 40

  8                        b.   “The key finding to emerge from this study was the negative psychosocial

  9                             impact reported by some children with untreated enamel defects . . . . Over
 10
                                half of the children stated that they had been subject to unkind remarks about
 11
                                their teeth by their peers. A number of children described a reluctance to
 12
                                smile or a lack of confidence.” 41
 13
                           c. “Fluorosis was associated with increased parental dissatisfaction with
 14

 15                             overall appearance, color, and blotchiness of their children’s teeth.” 42

 16                        d. “The pupils’ feedback was extremely useful, revealing that they believed the
 17                             ‘marks’ on the teeth to be due to poor oral hygiene, despite a preliminary
 18
                                tutorial which indicated this was not the case.” 43
 19

 20
      39
 21    Susan O. Griffin et al., Esthetically objectionable fluorosis attributable to water fluoridation, 30
      COMMUNITY DENT ORAL EPIDEMIOL. 199, 202-03 (2002).
 22   40
        Frederico Omar Gleber-Netto, et al. Assessment of aesthetic perception of mild and moderate
      dental fluorosis levels among students from the Federal University of Minas Gerais-UFMG, Brazil,
 23
      9 ORAL HEALTH PREV DENT 339, 339 (2011).
 24   41
        H.D. Rodd, et al., Seeking children's perspectives in the management of visible enamel defects,
      21 INT J PAEDIATR DENT. 89, 93 (2011); see also Zoe Marshman, et al., The impact of
 25
      developmental defects of enamel on young people in the UK, 37 COMMUNITY DENT ORAL
 26   EPIDEMIOL. 45 (2008).
      42
        Steven M. Levy, et al., Factors associated with parents’ esthetic perceptions of children’s mixed
 27
      dentition fluorosis and demarcated opacities, 27 PEDIATR DENT. 486, 486 (2005).
 28   43
           Maura Edwards, et al., An assessment of teenagers’ perceptions of dental fluorosis using digital
                                                   17
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  1                        e. “Our studies of esthetic perceptions of dental fluorosis found that members
  2                           of the public had strong preferences about variations from normal tooth
  3
                              appearance. For example, all respondents had a preference for teeth with
  4
                              normal color over teeth with mild fluorosis . . . .” 44
  5
                           f. “Results show that not only is fluorosis noticeable, but it may be more of an
  6

  7                           esthetic concern than the other conditions (e.g. isolated opacities,

  8                           tetracycline staining, or various types of malocclusion).” 45

  9                        g. “A strong association between fluorosis and parental satisfaction was
 10
                              evident, even at a low level of severity.” 46
 11
                           h. “South Australian children 10- to 17-years-old were able to recognize very
 12
                              mild and mild fluorosis and register changes in satisfaction with the colour
 13
                              and appearance of teeth. Even mild changes were associated with psycho-
 14

 15                           behavioural impacts.” 47

 16                        i. “[O]bservers felt that the appearance would increasingly embarrass the child
 17                           as the TF score increased.” 48
 18
                80.    Due to the objectionable appearance of fluorosis, many people with the condition
 19
      pay for cosmetic treatment (e.g., abrasion of the tooth surface in mild cases, and veneers in severe
 20
      cases). This treatment can be expensive and beyond the financial means for some families.
 21

 22
      stimulation and web-based testing, 33 COMMUNITY DENT ORAL EPIDEMIOL. 298, 305(2005).
 23   44
           Steven M. Levy, An update on fluorides and fluorosis, 69 J CAN DENT ASSOC. 286, 287 (2003).
 24   45
        Carrie B. McKnight, et al., A pilot study of esthetic perceptions of dental fluorosis vs. selected
 25   other dental conditions, 65 ASDC J DENT CHILD 233, 233 (1998).
      46
         James A. Lalumandier & R. Gary Rozier, Parents’ satisfaction with children’s tooth color:
 26   fluorosis as a contributing factor, 129 J AM DENT ASSOC. 1000, 1003 (1998).
      47
 27        John Spencer, et al., Water fluoridation in Australia, 13 COMMUNITY DENT HEALTH 27 (1996).
      48
 28        Paul J. Riordan, Perceptions of dental fluorosis, 72 J DENTAL RES 1268, 1268 (1993).

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  1             C. Ingesting Fluoride Toothpaste Can Cause Stomach Flu Symptoms
  2             81.    Ingesting too much fluoride mouthrinse can cause symptoms of acute toxicity that
  3
      mimic the symptoms of stomach flu, including nausea, upset stomach, diarrhea, and vomiting.
  4
                82.    According to a review in the Journal of Public Health Dentistry, “Parents or
  5
      caregivers may not notice the symptoms associated with mild fluoride toxicity or may attribute
  6

  7   them to colic or gastroenteritis, particularly if they did not see the child ingest fluoride. Similarly,

  8   because of the nonspecific nature of mild to moderate symptoms, a physician’s differential

  9   diagnosis is unlikely to include fluoride toxicity without a history of fluoride ingestion.” 49
 10
                83.    The mechanism by which fluoride causes stomach flu symptoms has been described
 11
      as follows: “When above normal amounts of fluoride are ingested, the fluoride combines with
 12
      hydrochloric acid in the stomach and forms hydrofluoric acid. As a result, the hydrofluoric acid has
 13
      a burning effect on the gastric lining causing gastrointestinal (GI) symptoms such as nausea,
 14

 15   vomiting, abdominal cramping, and discomfort.” 50

 16             84.    As with all toxicants, the dose of fluoride that causes symptoms of acute toxicity
 17   varies considerably across the population, with some children being much more vulnerable, and
 18
      other children being much more resistant, than the “average child.” 51
 19
                85.    Symptoms of nausea and gastrointestinal distress have been reported at doses as low
 20
      as 0.1 mg/kg. 52 A 2 year-old-child of average weight (~12 kg) will ingest this much fluoride by
 21

 22
      49
           Shulman & Wells, supra note 8, at 157.
 23   50
        Mary D. Cooper & Connie M. Kracher, Are our patients guzzling too much fluoride?, RDH
 24   MAGAZINE,          Feb.       1,        1997,       https://www.rdhmag.com/patient-care/rinses-
      pastes/article/16406858/are-our-patients-guzzling-too-much-fluoride.
 25   51
         E.g., H.G. Eichler, et al., Accidental ingestion of NaF tablets by children--report of a poison
 26   control center and one case, 20 INT J CLIN PHARMACOL THER TOXICOL. 334 (1982). Cf. C.J. Spak,
      et al., Studies of human gastric mucosa after application of 0.42% fluoride gel, 69 J DENT RES. 426
 27   (1990).
      52
 28        Kenji Akiniwa, A Re-examination of acute toxicity of fluoride, 30 FLUORIDE 89 (1997).

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  1   swallowing just over half of a single 10 mL dose of Hello Rinse.
  2             86.    In adults, a one-time ingestion of as little as 3 milligrams of fluoride in one sitting
  3
      (or the equivalent of 13 mL of Hello Rinse) has been found to cause “widespread” erosions of the
  4
      gastric mucosa in the stomach. 53 The dose that causes erosions in the stomach of children has not
  5
      been studied (due to ethical constraints) but will almost certainly be less than 3 mg due to lower
  6

  7   bodyweight and smaller stomach space.

  8             87.    If a 2 year-old-child ingests just 5 mL of Hello Rinse, or half of a single dose, the

  9   National Capital Poison Center recommends that the child take “Two tablets of chewable calcium
 10
      or calcium plus vitamin D supplement,” “Four ounces of milk,” or “One tablespoon of liquid
 11
      antacid containing magnesium or aluminum” in order to help prevent “nausea, vomiting,
 12
      diarrhea.” 54
 13
                D. Half a Bottle of Hello Rinse Has Enough Fluoride to Kill a Toddler
 14

 15             88.    Fluoride is a “protoplasmic poison” 55 that can kill humans at doses not that much

 16    higher than arsenic. 56 The potency of fluoride’s acute toxicity is why fluoride has been used as the
 17    active ingredient in rodenticides (to kill rodents) and insecticides (to kill bugs). 57 As far back as
 18
       1895, it was observed that “sodium fluoride is an active poison for micro-organisms of all kinds,
 19

 20
      53
           Spak, supra note 51.
 21   54
           See https://triage.webpoisoncontrol.org/ (last accessed Jan. 13, 2025).
 22   55
           Editorial, Chronic fluorine intoxication, 123 J AM DENT ASSOC. 150, 150 (1943).
      56
 23      The CDC states that “[a]s little as 1–2.5 mg/kg of arsenic trioxide is a potentially fatal dose.”
      CDC, Medical Management Guidelines for Arsenic (As) and Inorganic Arsenic Compounds,
 24   https://wwwn.cdc.gov/TSP/MMG/MMGDetails.aspx?mmgid=1424&toxid=3. This is only slightly
      lower than the potentially fatal dose of fluoride (5 mg/kg), as discussed below. See also Floyd
 25
      DeEds, Fluorine in relation to bone and tooth development, 33 J AM DENT ASSOC. 568, 570 (1936)
 26   (“Such a comparison of toxicity data suggests that fluorine, lead and arsenic belong to the same
      group, as far as ability to cause some symptom of toxicity in minute dosage is concerned.”).
 27   57
        KAJ ROHOLM, FLUORINE INTOXICATION: A CLINICAL HYGIENIC STUDY WITH A REVIEW OF THE
 28   LITERATURE AND SOME EXPERIMENTAL INVESTIGATIONS 301 (1937).

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  1    algae, and nerves and muscles of the higher organisms.” 58
  2              89.      The “Probable Toxic Dose” (“PTD”) for fluoride is 5 mg/kg. 59 The PTD “is defined
  3
      as the dose of ingested fluoride that should trigger immediate therapeutic intervention and
  4
      hospitalization because of the likelihood of serious toxic consequences.” 60 It is the “minimum dose
  5
      that could cause toxic signs and symptoms, including death, and that should trigger immediate
  6

  7   therapeutic intervention and hospitalization.” 61

  8              90.      Due to person-to-person variations in sensitivity to fluoride toxicity, not all people

  9   who ingest 5 mg/kg will experience significant toxicity. But, “if it is even suspected that 5.0 mg/kg
 10
      or more of fluoride has been ingested, then it should be assumed that an emergency exists.
 11
      Appropriate therapeutic measures and hospitalization should be instituted immediately.” 62
 12
                 91.      A bottle of Hello Rinse contains 109 milligrams of fluoride. A 1 year-old-child of
 13
      average weight (~9 kg) would exceed the PTD if he ingested just 41% of Defendant’s candy-
 14

 15   flavored rinse, while a 2 year-old-child of average weight (~12 kg) would exceed the PTD if he

 16   ingested 55%.
 17              92.      Each year there are over 4,000 reports to poison control centers related to ingestion
 18
      of fluoride mouthrinses. 63 The vast majority of these calls are made on behalf of very young
 19

 20   58
        Herbert B. Baldwin, The toxic action of sodium fluoride, 21 J AM CHEM SOC. 517, 521 (1899)
 21   (quoting Czrellitzer 1895).
      59
        Gary M. Whitford, Fluoride in dental products: safety considerations, 66 J DENT RES. 1056,
 22   1056 (1987).
 23   60
           Id.
      61
 24        Id. at 1057.
      62
           Id.
 25
      63
        David D. Gummin et al., 2020 Annual Report of the American Association of Poison Control
 26   Centers' National Poison Data System (NPDS): 38th Annual Report, 59 CLIN TOXICOL (Phila)
      1282, 1448 (2020); David D. Gummin et al., 2021 Annual Report of the National Poison Data
 27
      System© (NPDS) from America's Poison Centers: 39th Annual Report, 60 CLIN TOXICOL (Phila)
 28   1381, 1581 (2021).

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  1   children.
  2            93.     The number of poisoning incidents from consumer products reported to poison
  3
      control centers is recognized to “likely underestimate the total incidence and severity of
  4
      poisonings.” 64 This is the case even for poisonings that cause outcomes as severe as death. 65
  5
               94.     Consistent with the general recognition that poison control data underestimates the
  6

  7   true extent and severity of poisonings, the reported number of poisonings from fluoride mouthrinse

  8   is also believed to “underestimate” the true extent of fluoride poisonings due to “substantial

  9   underreporting” of such incidents. 66
 10
               95.     Nevertheless, the FDA has cited the large number of poison control reports for
 11
      fluoride mouthrinses as a justification for requiring a poison warning on these products. 67 FDA’s
 12
      required poison warning states as follows: “Keep out of reach of children. If more than used for
 13
      rinsing is accidentally swallowed, get medical help or contact a Poison Control Center right away.”
 14

 15   21 C.F.R. § 355.50(c)(2).

 16            E. Other Health Concerns with Early Life Exposure to Fluoride
 17            96.     Acute toxicity and dental fluorosis are not the only health concerns with excess
 18
      ingestion of fluoride.
 19
               97.     In 2006, the National Research Council (“NRC”) of the National Academies of
 20
      Science published a comprehensive review of fluoride toxicology which concluded, among other
 21

 22   things, that excess fluoride exposure weakens bone, damages the brain, and disrupts the endocrine

 23
      64
        Arthur Chang, et al., Cleaning and Disinfectant Chemical Exposures and Temporal Associations
 24   with COVID-19 — National Poison Data System, United States, January 1, 2020–March 31, 2020,
 25   69 MMWR MORB MORTAL WKLY REP. 16 496, 496-97 (2020).
      65
       Christopher Hoyte, Medical Director of the Rocky Mountain Poison Center, Presentation to FDA
 26   Workshop “Defining ‘Candy-Like’ Nonprescription Drug Products,” Oct. 30, 2023, p. 232.
      66
 27        Shulman & Wells, supra note 8, at 157.
      67
 28        FDA, supra note 2, at 52486.

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  1   system, including the thyroid gland. 68 According to the NRC, fluoride has been credibly associated
  2   with impaired thyroid function in susceptible humans at doses as low as 0.01 to 0.03 mg/kg/day,69
  3
      which is less than many children will routinely ingest from using fluoride mouthrinse. 70
  4
                 98.     Another endocrine effect of fluoride exposure that the NRC flagged is impaired
  5
      glucose metabolism, which is believed to be caused by fluoride’s “inhibition of insulin
  6

  7   production.” 71 According to the NRC, blood fluoride levels of 0.1 mg/L are credibly associated

  8   with this effect. 72 A preschool child who ingests as little as 1/3 of a single dose of Hello Rinse will

  9   have blood fluoride levels that temporarily approximate or exceed this level. 73
 10
                 99.     In August of 2024, the National Toxicology Program (“NTP”), which is part of the
 11
      National Institutes of Health, published a systematic review in which it concluded that excess
 12
      fluoride exposure is “consistently associated with reduced IQ in children.” 74
 13
                 100.    In January of 2025, NTP scientists published a meta-analysis of 74 human studies
 14

 15   on fluoride and IQ in the journal JAMA Pediatrics. 75 The NTP analysis “found inverse associations

 16

 17
      68
           NATIONAL RESEARCH COUNCIL, supra note 11, at 178-80, 220-22 & 260-66.
 18   69
        Id. at 263 (“In humans, effects on thyroid function were associated with fluoride exposures of
 19   0.05-0.13 mg/kg/day when iodine intake was adequate and 0.01-0.03 mg/kg/day when iodine intake
      was inadequate.”).
 20   70
         A 2 year-old-child of average weight (~12 kg) will ingest 0.03 mg/kg from ingesting just 1/6th of
 21   a single 10 mL dose of Firefly rinse.
      71
           Id. at 264.
 22
      72
           Id.
 23   73
         See Jan Ekstrand et al., Plasma fluoride concentrations in pre-school children after ingestion of
 24   fluoride tablets and toothpaste, 17 CARIES RES. 379 (1983).
      74
         NATIONAL TOXICOLOGY PROGRAM, NTP MONOGRAPH ON THE STATE OF THE SCIENCE
 25
      CONCERNING FLUORIDE EXPOSURE AND NEURODEVELOPMENT AND COGNITION: A SYSTEMATIC
 26   REVIEW.       Available    online at  https://ntp.niehs.nih.gov/sites/default/files/2024-
      08/fluoride_final_508.pdf.
 27   75
        Kyla Taylor et al., Fluoride exposure and children’s IQ scores: A systematic review and meta-
 28   analysis, JAMA PED. doi: 10.1001/jamapediatrics.2024.5542 (published online on Jan. 6, 2025).

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  1   and a dose-response relationship between fluoride measurements in urine and drinking water and
  2   children’s IQ across the large multicountry epidemiological literature.”
  3
                101.   The NTP has flagged mouthrinse as a source of childhood fluoride exposure that
  4
      could contribute to the risk of neurodevelopmental problems. According to the NTP, “children may
  5
      be getting more fluoride than they need because they now get fluoride from many sources including
  6

  7   treated public water, water-added foods and beverages, teas, toothpaste, floss, and mouthwash, and

  8   the combined total intake of fluoride may exceed safe amounts.” 76

  9             102.   On September 24, 2024, after hearing extensive expert testimony about NTP’s
 10
      findings and other recent research, the Honorable Judge Edward Chen from the U.S. District Court
 11
      for the Northern District of California concluded that the addition of fluoride to drinking water
 12
      “poses an unreasonable risk of reduced IQ in children.” Food & Water Watch, Inc. v. United States
 13
      EPA, No. 17-cv-02162-EMC, 2024 U.S. Dist. LEXIS 172635, at *4 (N.D. Cal. Sep. 24, 2024).
 14

 15             103.   Judge Chen’s detailed 80-page decision, along with the NRC and NTP reports,

 16   further highlights the need to limit children’s ingestion of fluoride.
 17             F. The Problem with Turning Fluoride Mouthrinse into a Candy-Like Drug
 18
                104.   It is well recognized that turning drugs into “candy-like” products increases the risk
 19
      of overdose, particularly for young children. This problem has long been specifically flagged in the
 20
      context of fluoridated dental products.
 21

 22             105.   In 1992, the Journal of Public Health Dentistry published a consensus statement

 23   which read, in part, “The use of flavors that may increase the ingestion of fluoridated dentifrices

 24   by young children should be strongly discouraged.” 77
 25

 26   76
          National Toxicology Program, Fluoride Exposure: Neurodevelopment and Cognition,
      https://ntp.niehs.nih.gov/whatwestudy/assessments/noncancer/completed/fluoride (last accessed
 27
      Jan. 13, 2025).
 28   77
           James W. Bawden, et al. Changing patterns of fluoride intake. Proceedings of the workshop.
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  1            106.      In 1994, the World Health Organization stated, “the production of candy-like
  2   flavours . . . should not be encouraged for use by children, as they may lead to an excessive ingestion
  3
      of fluoride.” 78
  4
               107.      In 1997, the Journal of Public Health Dentistry published a review, which stated
  5
      “The use of flavored consumer fluoride products increases the possibility that a child will ingest a
  6

  7   toxic dose of fluoride.” 79

  8            108.      Studies have empirically tested, and confirmed, that adding candy flavor to

  9   toothpaste increases the amount of paste that children add to their brush, as well as the amount of
 10
      toothpaste that they ingest. 80 Similar studies have not been conducted on candy-flavored
 11
      mouthrinses. The absence of such studies is likely a result, in part, of the bioethical problem of
 12
      intentionally exposing preschool children to a product that is contraindicated for this population.
 13
               109.      According to the FDA, marketing dangerous products to children through the use of
 14

 15   candy or food flavoring is a “misleading” marketing tactic that can render a product “misbranded”

 16   under the FDCA. 81
 17

 18

 19   Part II, 71 J PUBLIC HEALTH DENT. 1212, 1221 (1992).
      78
           WORLD HEALTH ORGANIZATION, supra note 4, at 28.
 20   79
           Shulman & Wells, supra note 8, at 150.
 21   80
         Steven M. Levy, et al., A pilot study of preschoolers' use of regular-flavored dentifrices and those
 22   flavored for children, 14 PEDIATR DENT. 388 (1992); Steven M. Adair, et al., Comparison of the
      use of a child and an adult dentifrice by a sample of preschool children, 19 PEDIATR DENT. 99
 23   (1997); Claudia A. Kobayashi, et al., Factors influencing fluoride ingestion from dentifrice by
      children, 39 COMMUNITY DENT ORAL EPIDEMIOL. 426 (2011); Carrie A. Strittholt, et al., A
 24   randomized clinical study to assess ingestion of dentifrice by children, 75 REGUL TOXICOL
      PHARMACOL. 66 (2016).
 25
      81
          E.g., FDA Warning Letter to Electric Lotus, LLC, Nov. 29, 2018, available at:
 26   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
      letters/electric-lotus-llc-568710-11292018 (warning liquid tobacco companies that their use of
 27
      candy flavoring is “misleading” and “increases the likelihood that children will ingest the product
 28   as a food”).

                                                     25
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  1           G. FDCA Requirements for Fluoride Mouthrinse
  2           General Requirements
  3
              110.    The FDCA prohibits companies from selling over-the-counter drugs that are
  4
      “misbranded.” 21 U.S.C. § 331(a).
  5
              111.    A drug is misbranded if it has labeling that “is false or misleading in any particular.”
  6

  7   21 U.S.C. § 352(a)(1) (emphasis added).

  8           112.    A drug is also misbranded if “any word, statement, or other information required . .

  9   . to appear on the label or labeling is not prominently placed thereon with such conspicuousness
 10
      (as compared with other words, statements, designs, or devices, in the labeling) and in such terms
 11
      as to render it likely to be read and understood by the ordinary individual under customary
 12
      conditions of purchase and use.” 21 U.S.C. § 352(c) (emphasis added).
 13
              113.    Under the regulations issued pursuant to the FDCA, the warnings and directions on
 14

 15   a label will fail to meet the prominence test if there is:

 16
              (4) Insufficiency of label space for the prominent placing of such word, statement, or
 17
              information, resulting from the use of label space for any word, statement, design, or device
 18
              which is not required by or under authority of the act to appear on the label;
 19
              (5) Insufficiency of label space for the prominent placing of such word, statement, or
 20
              information, resulting from the use of label space to give materially greater conspicuousness
 21
              to any other word, statement, or information, or to any design or device.
 22
      21 C.F.R. § 201.15(a).
 23
              114.    An over-the-counter drug is “not misbranded” if it satisfies “each of the conditions
 24
      contained in any applicable monograph” and is “labeled in compliance” with 21 U.S.C. § 352 and
 25

 26   the regulations issued pursuant thereto. 21 C.F.R. § 330.1(c)(1). Thus, a drug can meet each of the

 27   conditions of an applicable Monograph and still be misbranded if it has additional text on the label
 28
                                                 26
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  1   that is false and misleading, or fails to display the required warnings and directions in a sufficiently
  2   prominent manner.
  3
                Specific Requirements
  4
                115.   The FDA has issued a Monograph for anti-cavity dental products, including fluoride
  5
      mouthrinse. 21 C.F.R. §§ 355.50 & 355.55.
  6

  7             116.   The FDA requires that all fluoride mouthrinse products provide the following

  8   warning: “Keep out of reach of children. If more than used for rinsing is accidentally swallowed,

  9   get medical help or contact a Poison Control Center right away.” 21 C.F.R. § 355.50(c)(2). The
 10
      FDA requires that the first sentence of this warning be in bold type. Id.
 11
                117.   The FDA requires that fluoride mouthrinses containing 0.05% sodium fluoride82
 12
      provide the following directions: “Adults and children 6 years of age and older: Use once a day
 13
      after brushing your teeth with a toothpaste. Vigorously swish 10 milliliters of rinse between your
 14

 15   teeth for 1 minute and then spit out. Do not swallow the rinse. Do not eat or drink for 30 minutes

 16   after rinsing. Instruct children under 12 years of age in good rinsing habits (to minimize
 17   swallowing). Supervise children as necessary until capable of using without supervision. Children
 18
      under 6 years of age: Consult a dentist or doctor.” 21 C.F.R. § 355.50(d)(2)(ii).
 19
                118.   The FDA also requires that “the following statement shall be prominently placed on
 20
      the principal display panel” of all fluoride mouthrinses: “IMPORTANT: Read directions for proper
 21

 22   use.” 21 C.F.R. § 355.55.

 23             Things that the FDA Does Not Require

 24             119.   The FDA does not require fluoride mouthrinse to taste and smell like candy or fruit
 25   juice.
 26

 27
      82
 28        This is the concentration of Hello Rinse.

                                                   27
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  1          120.    The FDA does not require the labeling of fluoride mouthrinse to boast that its kids-
  2   friendly favor “tastes awesome,” “tastes magical,” and “tastes delicious.”
  3
             121.    The FDA does not require the labeling of fluoride mouthrinse to use language that
  4
      encourages parents and caregivers to think of the product as harmless for children.
  5
             H. The Deceptive Attributes of Hello Rinses
  6

  7          122.    Hello Rinse has the following deceptive attributes which individually and

  8   collectively convey the false and misleading impression that the product is specially formulated to

  9   be safe for young children:
 10
                     a. The label makes repeated references to “kids” and “little brushers” to convey
 11
                        that the product is meant for children.
 12
                     b. The label boasts of having flavors (“Wild Strawberry” and “Unicorn Splash -
 13
                        Bubble Gum”) that will specifically appeal to children.
 14

 15                  c. The label uses language that implies the product is safe to swallow, including

 16                     “naturally friendly,” “thoughtfully formulated,” and “no alcohol. no dyes. no
 17                     artificial sweeteners. no artificial flavors. no SLS/sulfates. no brainer.”
 18
                     d. The language on the label is written in a playful, silly, kid-appealing tone that
 19
                        conveys the impression that this is a harmless product that does not need to be
 20
                        handled with caution or care (e.g., “tastes like rainbows and sunshine (aka
 21

 22                     bubble gum),” “tastes so delicious they’ll rush to rinse,” “your swish come true,”

 23                     “tastes magical,” and “rinse away the nasty bits”).

 24                  e. The back label gives far more prominence to puffery about the product than to
 25                     FDA’s required warnings and directions. The font size, boldness, sharpness of
 26
                        text, and location of the puffery effectively drowns out and conceals the
 27
                        warnings and directions.
 28
                                                28
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  1                  f. The front label of the Wild Strawberry Rinse displays a seal of approval from
  2                      the ADA without disclosing that ADA’s approval of the product is for children
  3
                         age six and older. 83
  4
                     g. The front label conceals the notice that FDA requires to be “prominently
  5
                         displayed.”
  6

  7          123.    Each and every one of these deceptive attributes caused Plaintiffs to falsely believe

  8   that Hello Rinse is specially formulated to be safe for young children.

  9          124.    Plaintiffs relied upon these deceptive attributes, both individually and collectively,
 10
      in deciding to purchase Hello Rinse.
 11
             125.    Had Plaintiffs known that fluoride mouthrinses are contraindicated for children
 12
      under six due to an unacceptable risk profile, Plaintiffs would not have purchased Hello Rinse, or
 13
      any other fluoride rinse.
 14

 15          I. Defendant’s Violations of FDCA Requirements

 16          126.    Defendant has violated the FDCA in at least three ways.
 17          127.    First, Defendant has violated 21 C.F.R. § 355.55 by failing to provide the notice that
 18
      this FDA requires for fluoride mouthrinses.
 19
             128.    Second, Defendant has violated 21 U.S.C. § 352(c) and 21 C.F.R. § 201.15(a)(4)(5)
 20
      by failing to give sufficient prominence to FDA’s required warnings and directions. The back label
 21

 22   of Hello Rinse focuses the consumer’s attention on the puffery and promotional claims which are

 23   prominently placed in the upper half of the label in large, bold font, with sufficient space between

 24

 25
      83
         The FDA does not prohibit showing ADA’s seal of approval on fluoride mouthrinses, but the
 26   agency has made clear that the inclusion of this seal is subject to the prohibition on false or
      misleading labeling. See FDA, supra note 12, at 39868 (“As with other statements differing from
 27
      the wording in the monograph, the ADA’s approval statement and seal may appear on product
 28   labeling subject to the prohibitions in 21 USC 352(a) against false or misleading labeling.”).

                                                   29
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  1   the letters to make the words clear and easy to read. By contrast, the warnings and directions are in
  2   a much smaller font on the bottom half of the label, with less space between the letters, less contrast
  3
      with the background, and other design characteristics that make it unlikely an ordinary consumer
  4
      will strain their eyes and concentration to read and understand.
  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24          129.    This lack of prominence is particularly egregious with the Wild Strawberry Rinse,
 25   as the text is blurry and has less contrast against the background.
 26
             130.    The blurriness of the directions and warnings on the Wild Strawberry Rinse products
 27
      varies by unit, with some units having text that is so blurry that the few consumers who actually
 28
                                                 30
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  1   take the time and effort to strain their eyes and concentration to read it will have difficulty doing
  2   so.
  3
             131.    Third, for the reasons discussed above, Defendant has violated 21 U.S.C. § 352(a)
  4
      by using packaging for Hello Rinse that conveys the false and misleading impression that this
  5
      product is specially formulated to be safe for young children.
  6

  7          132.    Defendant’s violation of 21 U.S.C. § 352(a) is not cured by Defendant’s inclusion

  8   of warnings and instructions in the fine print on the back of the label. This remains the case even if

  9   the Court were to find that Defendant’s display of these warnings and directions complies with 21
 10
      U.S.C. § 352(c) and 21 C.F.R. § 201.15(a)(4)(5).
 11
             133.    Courts have recognized that false and misleading representations on the front of a
 12
      label are not cured or absolved by including correct information in the fine print on the back, even
 13
      when the fine print provides all of the requisite information required by the FDA. See, e.g., Cooper
 14

 15   v. Anheuser-Busch, LLC, 553 F. Supp. 3d 83, 107-08 (S.D.N.Y. 2021) (citing cases).

 16          134.    As the Ninth Circuit explained in Williams v. Gerber Prods. Co., 552 F.3d 934, 939-
 17   40 (9th Cir. 2008):
 18                  We disagree with the district court that reasonable consumers should
                     be expected to look beyond misleading representations on the front
 19                  of the box to discover the truth from the ingredient list in small print
                     on the side of the box. The ingredient list on the side of the box
 20                  appears to comply with FDA regulations and certainly serves some
                     purpose. We do not think that the FDA requires an ingredient list so
 21                  that manufacturers can mislead consumers and then rely on the
                     ingredient list to correct those misinterpretations and provide a shield
 22                  for liability for the deception. Instead, reasonable consumers expect
                     that the ingredient list contains more detailed information about the
 23                  product that confirms other representations on the packaging.
 24
             135.    The Seventh Circuit has endorsed the Ninth Circuit’s approach. In Bell v. Publix
 25
      Super Mkts., Inc., 982 F.3d 468, 476, 481 (7th Cir. 2020), the court explained:
 26
                     Consumer-protection laws do not impose on average consumers an
 27                  obligation to question the labels they see and to parse them as lawyers
                     might for ambiguities, especially in the seconds usually spent picking
 28                  a low-cost product. See, e.g., Danone, US, LLC v. Chobani, LLC, 362
                                                 31
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  1                  F. Supp. 3d 109, 123 (S.D.N.Y. 2019) (“[A] parent walking down
                     the dairy aisle in a grocery store, possibly with a child or two in tow,
  2                  is not likely to study with great diligence the contents of a
                     complicated product package, searching for and making sense of
  3                  fine-print disclosures . . . . Nor does the law expect this of the
                     reasonable consumer. . . . We doubt it would surprise retailers and
  4                  marketers if evidence showed that many grocery shoppers make
                     quick decisions that do not involve careful consideration of all
  5                  information available to them. See, e.g., U.S. Food & Drug Admin.,
                     Guidance for Industry: Letter Regarding Point of Purchase Food
  6                  Labeling (Oct. 2009) (“FDA's research has found that with [Front of
                     Package] labeling, people are less likely to check the Nutrition Facts
  7                  label on the information panel of foods (usually, the back or side of
                     the package).”)
  8
             136.    Both of Defendant’s violations of the FDCA were relied upon by Plaintiffs and were
  9
      individually, and collectively, a material cause of Plaintiffs’ decisions to purchase Hello Rinse.
 10

 11          J. Defendant’s Deceptive Conduct Caused Economic Injury to Plaintiffs and Class

 12              Members
 13          137.    Defendant made the false and misleading representations described above to induce
 14
      parents and caregivers of young children to purchase Hello Rinse who would not have purchased
 15
      the product if they knew it is contraindicated for children under six.
 16
             138.    Defendant was, and remains, unjustly enriched each time parents and caregivers act
 17

 18   on Defendant’s false and misleading packaging by purchasing Hello Rinse for children for whom

 19   the product is contraindicated.

 20          139.    Had Plaintiffs known that fluoride mouthrinses are contraindicated for children
 21   under 6 due to an unacceptable risk profile, they would not have purchased Hello Rinse, or any
 22
      other fluoride rinse, because they would not knowingly have allowed their children to be exposed
 23
      to a drug that the FDA considers too dangerous for young children to safely use.
 24
             140.    Plaintiffs and similarly situated class members have thus suffered injury in fact by
 25

 26   losing money on their purchase of a product that they would never have purchased or allowed their

 27   children to use had they not been deceived.

 28
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  1          141.    To the extent that fluoride mouthrinse is considered to have any value for children
  2   under 6 (which Plaintiffs dispute given the overwhelming evidence of an unacceptable risk profile
  3
      for this young and vulnerable age group), the value is significantly less than what Plaintiffs and
  4
      putative class members paid for it. Plaintiffs and class members thereby suffered economic loss by,
  5
      at a minimum, purchasing the product for far more than its value.
  6

  7          142.    Plaintiffs do not seek recovery for any personal injuries that they or their children

  8   may have suffered from using Hello Rinse, including any emotional harm stemming therefrom.

  9                                        CLASS ALLEGATIONS
 10
             143.    Pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3), Plaintiffs bring this
 11
      action on behalf of the following Class:
 12
                     a. Multi-State Class: All persons in California, Illinois, and New York who
 13
                         purchased Hello Rinse for children under the age of 6 within the applicable
 14

 15                      statutes of limitation and who did so in the absence of direction from a dentist,

 16                      doctor, or health care provider.
 17          144.    As used herein, the term “Class” shall refer to the aforementioned putative class.
 18
             145.    Excluded from the Class are Defendant, its parents, subsidiaries, affiliates, officers,
 19
      and directors; those who purchased the Products for resale; those who make a timely election to be
 20
      excluded from the classes, and the judge to whom the case is assigned and any immediate family
 21

 22   members thereof.

 23          146.    The Class Period begins on the date established by the Court’s determination of any

 24   applicable statute of limitations, after consideration of any tolling, discovery, knowing
 25   concealment, and accrual issues, and ending on the date of entry of judgment.
 26
             147.    Plaintiffs reserve the right to amend the definition of the Class if discovery or further
 27
      investigation reveals that the Class should be expanded or otherwise modified.
 28
                                                33
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  1          148.     Numerosity: The members of the Class are so numerous that joinder of all class
  2   members is impracticable. Class Members may be notified of the pendency of this action by
  3
      recognized, Court-approved notice dissemination methods, which may include U.S. mail,
  4
      electronic mail, Internet postings, and/or published notice.
  5
             149.     Predominance of Common Questions of Law and Fact: Questions of law and
  6

  7   fact that are common to the members of the Class predominate over questions that are specific to

  8   individual members. These common questions of law and fact include, but are not limited to, the

  9   following:
 10
             a) Whether the attributes of Hello Rinse that are not required by the FDA Monograph are
 11
                   false and/or misleading;
 12
             b) Whether Defendant knew or should have known that the packaging of Hello Rinse is
 13
                   false and/or misleading;
 14

 15          c) Whether Defendant has violated the state consumer protection statutes alleged herein?

 16          d) Whether Defendant has violated the FDCA, including 21 C.F.R. § 355.55, 21 U.S.C. §
 17                352(a), 21 U.S.C. § 352(c), and 21 C.F.R. § 201.15(a)(4)-(5);
 18
             e) Whether Defendant was unjustly enriched;
 19
             f) Whether Plaintiffs and Class members have suffered an ascertainable loss of monies
 20
                   or property or other value as a result of Defendant’s deceptive and unlawful conduct;
 21

 22          g) Whether Plaintiffs and Class members are entitled to monetary damages and, if so, the

 23                nature of such relief.

 24          150.     The consumer protection laws in the three states of the putative Multi-State
 25   Consumer Class are materially identical with respect to the causes of action for deceptive trade
 26
      practices alleged herein. Thus, the same deceptive conduct by Defendant that violates California’s
 27
      Unfair Competition Law, CAL. BUS. & PROF. CODE §§ 17200, et seq., simultaneously violates
 28
                                                  34
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  1   Illinois’s Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505, et seq., and New
  2   York’s Consumer Protection from Deceptive Acts and Practices Act, N.Y. GEN. BUS. LAW §§ 349
  3
      & 350. Additionally, the same conduct by Defendant that constitutes unjust enrichment under
  4
      California law, also constitutes unjust enrichment under Illinois and New York law.
  5
             151.    Typicality: Plaintiffs’ claims are typical of those of other Class members because,
  6

  7   like all members of the Class, Plaintiffs purchased Hello Rinse for children under 6 and sustained

  8   economic loss as a result. Defendant’s conduct that gave rise to the claims of Plaintiffs is the same

  9   for Plaintiffs and all members of the Class.
 10
            152.     Adequacy: Plaintiffs will fairly and adequately protect the interests of the Class and
 11
      have retained counsel that is experienced in litigating complex class actions. Plaintiffs have no
 12
      interests which conflict with those of the Class. Plaintiffs and counsel are aware of their fiduciary
 13
      responsibilities to the Class members and are determined to diligently discharge those duties by
 14

 15   vigorously seeking the maximum possible recovery for Class members.

 16          153.    Superiority: A class action is superior to any other available means for the fair and
 17   efficient adjudication of this controversy for the following reasons:
 18
                     a. The damages suffered by each individual member of the Class do not justify the
 19
                         burden and expense of individual prosecution of the complex and extensive
 20
                         litigation necessitated by Defendant’s conduct;
 21

 22                  b. Even if individual members of the Class had the resources to pursue individual

 23                      litigation, it would pose a crushing burden on the court system for these cases to

 24                      be litigated on an individual basis;
 25                  c. Absent a class action mechanism, Plaintiffs and members of the Class will
 26
                         continue to suffer harm as a result of Defendant’s unlawful conduct because
 27
                         individual litigation is wholly impractical and cost prohibitive; and
 28
                                                35
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  1                  d. This action presents no difficulty that would impede its management by the
  2                      Court as a class action. 84
  3
                                      FIRST CAUSE OF ACTION
  4                    Unlawful Business Practices in Violation of California’s UCL
                                     Cal. Bus. & Prof. Code § 17200
  5
             154.    Plaintiffs incorporate the preceding paragraphs as if fully written herein.
  6
             155.    Plaintiff Amber Miller brings this claim individually and on behalf of the California
  7
      members of the Class.
  8

  9          156.    California’s UCL prohibits unfair business competition, which the statute defines to

 10   include any “unlawful” act. Cal. Bus. & Prof. Code § 17200.

 11          157.    A business act or practice is “unlawful” under the UCL if it violates any established
 12   state or federal law. See Graham v. Bank of Am., N.A., 226 Cal. App. 4th 594, 610 (2014) (“By
 13
      proscribing ‘any unlawful’ business act or practice, the UCL borrows rules set out in other laws
 14
      and makes violations of those rules independently actionable. A violation of another law is a
 15
      predicate for stating a cause of action under the UCL’s unlawful prong.” (quotations and citations
 16

 17   omitted)).

 18          158.    Defendant has violated the ‘unlawful’ prong of the UCL by selling a product in

 19   California that violates federal law.
 20

 21
      84
         Each claimant’s eligibility for relief can be determined through self-identifying affidavits, a
 22   mechanism that courts have widely endorsed in cases, such as the one at bar, involving low-priced
      consumer goods. See, e.g., Beaton v. SpeedyPC Software, 907 F.3d 1018, 1030 (7th Cir. 2018);
 23   Mullins v. Direct Dig., Ltd. Liab. Co., 795 F.3d 654, 658 (7th Cir. 2015); Langan v. Johnson &
      Johnson Consumer Cos., 897 F.3d 88 (2d Cir. 2018); Benson v. Newell Brands, Inc., No. 19 C
 24   6836, 2021 U.S. Dist. LEXIS 220986, at *30-32 (N.D. Ill. Nov. 16, 2021); Hasemann v. Gerber
      Prods. Co., No. 15-CV-2995 (MKB) (RER), 2019 U.S. Dist. LEXIS 28770, at *53-54 (E.D.N.Y.
 25   Feb. 20, 2019); Suchanek v. Sturm Foods, Inc., 311 F.R.D. 239, 259-60 (S.D. Ill. 2015); Brown v.
      Hain Celestial Grp., Inc., No. C 11-03082 LB, 2014 U.S. Dist. LEXIS 162038, at *29-30 (N.D.
 26   Cal. Nov. 18, 2014); Cf. Pella Corp. v. Saltzman, 606 F.3d 391, 396 (7th Cir. 2010) (“Under Rule
      23, district courts are permitted to ‘devise imaginative solutions to problems created by the presence
 27   in a class action litigation of individual damages issues.’”).
 28
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  1          159.    Federal law requires that the front label of all fluoride mouthrinses “prominently
  2   display” the following words: “IMPORTANT: Read directions for proper use.” 21 C.F.R. § 355.55.
  3
             160.    Defendant has violated, and continues to violate, 21 C.F.R. § 355.55 because it does
  4
      not provide the notice anywhere on the label. Defendant is thus selling a product in California that
  5
      violates the unlawful prong of the UCL. This conduct is actionable under the UCL separate and
  6

  7   apart from Defendant’s other deceptive conduct.

  8          161.    Plaintiff and the California Class members purchased Hello Rinse for their

  9   preschool children based on their reasonable reliance on Defendant’s unlawful labeling.
 10
             162.    Plaintiffs and the California Class Members suffered economic harm as a proximate
 11
      result of Defendant’s violations of the UCL by purchasing a product they never would have
 12
      purchased absent the unlawful practices given FDA’s contraindication and the unacceptable risk
 13
      the product poses to young children.
 14

 15          163.    Alternatively, to the extent Hello Rinse is considered to have value for children six

 16   under six despite its contraindication and unacceptable risk profile, Plaintiffs and California Class
 17   Members were harmed by purchasing a product whose true value, absent the unlawful conduct, was
 18
      far less than what they paid.
 19
             164.    Through its unlawful acts and practices, Defendant has been unjustly enriched, and
 20
      continues to be unjustly enriched, by unfairly obtaining money from members of the Class.
 21

 22          165.    Based on Defendant’s unlawful acts or practices, Plaintiff and the California Class

 23   members are entitled to relief under the UCL.

 24                                 SECOND CAUSE OF ACTION
                      Deceptive Business Practices in Violation of California’s UCL
 25                                 Cal. Bus. & Prof. Code § 17200
 26          166.    Plaintiffs incorporate the preceding paragraphs as if fully written herein.
 27          167.    Plaintiff Amber Miller brings this claim individually and on behalf of the California
 28
                                                37
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  1   Class members for all proposed classes.
  2          168.    California’s Unfair Competition Law (“UCL”) prohibits “fraudulent” acts or
  3
      practices, which the statute defines to include any act or practice that is likely to deceive members
  4
      of the consuming public. Cal. Bus. & Prof. Code §17200. An intention to defraud is not a necessary
  5
      element for demonstrating a fraudulent business practice under the UCL.
  6

  7          169.    As described above, including but not limited to paragraph 122, Defendant has

  8   violated, and continues to violate, the UCL by using deceptive labeling for its Hello Rinse that is

  9   likely to deceive members of the consuming public into believing the product is specially
 10
      formulated to be safe for young children.
 11
             170.    Plaintiff and the other California Class Members purchased Hello Rinse for their
 12
      preschool children based on their reasonable reliance on Defendant’s deceptive labeling.
 13
             171.    Plaintiffs and Class Members have economic damages as a proximate result of
 14

 15   Defendant’s violations of the UCL by purchasing a product they never would have purchased

 16   absent the deceptive practices given FDA’s contraindication and the unacceptable risk the product
 17   poses to young children.
 18
             172.    Alternatively, to the extent Hello Rinse is considered to have value for children six
 19
      under six despite its contraindication and unacceptable risk profile, Plaintiffs and California Class
 20
      Members were harmed by purchasing a product whose true value, absent the deceptive conduct,
 21

 22   was far less than what they paid.

 23          173.    Through its deceptive acts and practices, Defendant has been unjustly enriched, and

 24   continues to be unjustly enriched, by unfairly obtaining money from members of the Class.
 25          174.    Based on Defendant’s deceptive acts or practices, Plaintiff and the California Class
 26
      members are entitled to relief under the UCL.
 27

 28
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  1                                THIRD CAUSE OF ACTION
                             Deceptive Business Practices in Violation of
  2      Illinois Consumer Fraud and Deceptive Trade Practices Act (815 ILCS 505/1, et seq.)
  3          175.    Plaintiffs incorporate the preceding paragraphs as if fully written herein.

  4          176.    Plaintiff Josh Cook brings this claim individually and on behalf of the Illinois Class
  5
      members for all proposed classes.
  6
             177.    The Illinois Consumer Fraud and Deceptive Trade Practices Act (“ICFA”) prohibits
  7
      “[u]nfair methods of competition and unfair or deceptive acts or practices,” which includes “the
  8
      use or employment of any . . . false pretense, false promise, misrepresentation or the concealment,
  9

 10   suppression or omission of any material fact.” 815 ILCS 505/2.

 11          178.    A “claim for ‘deceptive’ business practices under the [ICFA] does not require proof
 12   of intent to deceive.” Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547, 575 (7th Cir. 2012) (citation
 13
      omitted).
 14
             179.    As described above, including but not limited to paragraph 122, Defendant has
 15
      violated, and continues to violate, the ICFA by using deceptive acts and practices to sell its Hello
 16

 17   Rinse. As described above, Defendant’s labeling of the Hello Rinse implies the false pretense, false

 18   promise, and misrepresentation that the product is specially formulated to be safe for young

 19   children.
 20          180.    Plaintiffs and Illinois Class members purchased Hello Rinse for their preschool
 21
      children based on their reasonable reliance on Defendant’s deceptive labeling.
 22
             181.    Plaintiffs and Illinois Class Members suffered economic harm as a proximate result
 23
      of Defendant’s violations of the ICFA by purchasing a product they never would have purchased
 24

 25   absent the deceptive practices given FDA’s contraindication and the unacceptable risk the product

 26   poses to young children.

 27          182.    Alternatively, to the extent Hello Rinse is considered to have value for children six
 28
                                                  39
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  1   under six despite its contraindication and unacceptable risk profile, Plaintiffs and Illinois Class
  2   Members were harmed by purchasing a product whose true value, absent the deceptive conduct,
  3
      was far less than what they paid.
  4
             183.    Through its deceptive acts and practices, Defendant has been unjustly enriched, and
  5
      continues to be unjustly enriched, by unfairly obtaining money from members of the Class.
  6

  7          184.    Based on Defendant’s deceptive acts or practices, Plaintiff and the Illinois Class

  8   members are entitled to relief under 815 ILCS §505/10a.

  9                                  FOURTH CAUSE OF ACTION
                                Deceptive Business Practices in Violation of
 10
                               New York General Business Law §§ 349 & 350
 11
             185.    Plaintiffs incorporate the preceding paragraphs as if fully written herein.
 12
             186.    Plaintiff Marina Vasilyeva brings this claim individually and on behalf of the New
 13
      York Class members.
 14

 15          187.    New York General Business Law (“GBL”) prohibits “deceptive acts or practices in

 16   the conduct of any business, trade, or commerce or in the furnishing of any service in this state.”
 17   NY GBL § 349. GBL also prohibits “[f]alse advertising in the conduct of any business, trade or
 18
      commerce.” NY GBL § 350. GBL defines false advertising as including “labeling” of a product
 19
      that is “misleading in a material respect.” Id. § 350a(1).
 20
             188.    As described above, including but not limited to paragraph 122, Defendant has
 21

 22   violated, and continues to violate, GBL §§ 349-50 by using deceptive and misleading labeling for

 23   its Hello Rinse that is likely to deceive members of the consuming public into believing that the

 24   product is specially formulated to be safe for young children.
 25          189.    Plaintiff and the other New York Class members purchased Hello Rinse for their
 26
      preschool children based on their reasonable reliance on Defendant’s false and misleading labeling.
 27
             190.    Plaintiffs and Class Members suffered economic harm as a proximate result of
 28
                                                 40
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  1   Defendant’s violations of the NY GBL §§ 349-50 by purchasing a product they never would have
  2   purchased absent the deceptive practices given FDA’s contraindication and the unacceptable risk
  3
      the product poses to young children.
  4
             191.    Alternatively, to the extent Hello Rinse is considered to have value for children six
  5
      under six despite its contraindication and unacceptable risk profile, Plaintiffs and New York Class
  6

  7   Members were harmed by purchasing a product whose true value, absent the deceptive conduct,

  8   was far less than what they paid.

  9          192.    Through its deceptive and misleading acts and practices, Defendant has been
 10
      unjustly enriched, and continues to be unjustly enriched, by unfairly obtaining money from
 11
      members of the Class.
 12
             193.    Based on Defendant’s unlawful acts or practices, Plaintiff and the New York Class
 13
      members are entitled to relief under NY GBL §§ 349-50.
 14

 15                                       PRAYER FOR RELIEF

 16          WHEREFORE, Plaintiffs, on behalf of themselves and those similarly situated,
 17   respectfully request that the Court enter judgment against Defendant as follows:
 18
             A.      Certification of the proposed Multi-State Class, or the alternative California Class,
 19
                     including appointment of Plaintiffs’ counsel as Class counsel and Plaintiffs as Class
 20
                     Representatives;
 21

 22          B.      An award of compensatory damages in an amount to be determined at trial;

 23          C.      An award of restitution in an amount to be determined at trial;

 24          D.      An award of disgorgement in an amount to be determined at trial;
 25          E.      An award of statutory damages in an amount to be determined at trial, except as to
 26
                     those causes of action where statutory damages are not available by law;
 27
             F.      An award of treble damages, except as to those causes of action where treble
 28
                                                41
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  1                damages are not available by law;
  2         G.     An award of punitive damages in an amount to be determined at trial, except as to
  3
                   those causes of action where punitive damages are not available by law;
  4
            H.     An order requiring Defendant to pay both pre- and post-judgment interest on any
  5
                   amounts awarded;
  6

  7         I.     For reasonable attorneys’ fees and the costs of suit incurred; and

  8         J.     For such further relief as this Court may deem just and proper.

  9                                   DEMAND FOR JURY TRIAL
 10
            Plaintiffs hereby demand a trial by jury on all Counts and as to all issues.
 11

 12
      Dated: January 13, 2025                             Respectfully Submitted,
 13
                                                          By: /s/ Michael Connett
 14
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 18                                                       Aaron Siri (pro hac vice to be sought)
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 19                                                       sought)
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 24                                                       Attorneys for Plaintiffs and Putative Class

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